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                          Exhibit A
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                          Exhibit B
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D ep artm en t   o f H ealth   an d H u m an S erv ices   O fice   o f In sp ecto r   G en eral   Wash in g to n , D C 2 0 2 0 1




FOIA Request 2021-0679                                                                                                                             Freedom of Information Office
                                                                                                                                                        Cohen Bldg., Suite 5541A
                                                                                                                                                      330 Independence Ave., SW
                                                                                                                                                           Washington DC 20201



                                                                                                                                   July 14, 2021

By Email.
Myria Petrou
1 University Way, #114
Iowa City, IA 52246
Email: petroumyria75@gmail.com

Dear Ms. Petrou:

This is in response to the May 23, 2021, Freedom of Information Act (“FOIA”) request you
submitted to the Department of Health and Human Services (“HHS”), Office of Inspector General
(“OIG”), seeking all complaints regarding NIH RO1 Grant NS082304 submitted by Bradley
Foerster, Duaa Altaee and/or Myira Petrou from July 1 2014 to July 10 2017.

This office located two (2) pages responsive to your request for complaints submitted by Myria
Petrou; I have determined to partially release both pages with portions withheld under FOIA
Exemptions (b)(6) and (b)(7)(C).

I can neither confirm nor deny the existence of records which would be responsive to your request
for complaints submitted by Bradley Foerster and Duaa Altaee. If they exist, records of this nature
would be exempt from disclosure under FOIA Exemptions (b)(3), (b)(6), (b)(7)(A) and/or (b)(7)(C).
These exemptions exempt from mandatory disclosure records compiled for law enforcement
proceedings, if disclosure could reasonably be expected to interfere with enforcement proceedings;
or when lacking the subject’s consent, or an overriding public interest, or to even officially
acknowledge the existence of investigatory records of the type that pertain to an individual, could
reasonably be expected to constitute an (clearly) unwarranted invasion of personal privacy.

Exemption (b)(3) permits the withholding of records when release is exempted by another statute, in
this instance, The Inspector General Act.

Exemption (b)(6) permits the withholding of information that if released would constitute a clearly
unwarranted invasion of personal privacy.

Exemption (b)(7)(A) permits the withholding of investigatory records compiled for law enforcement
purposes when disclosure could reasonably be expected to interfere with enforcement proceedings

Exemption (b)(7)(C) permits the withholding of investigatory records compiled for law enforcement
purposes when disclosure could reasonably be expected to constitute an unwarranted invasion of
personal privacy.
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There is no charge for FOIA services in this instance because billable fees are below the
Department’s $25 cost effective threshold.

If you have reason to believe that any denied portions should not be exempt from disclosure, you
may appeal. Your appeal must be postmarked or electronically transmitted within 90 days from the
date of this letter to the Deputy Agency Chief FOIA Officer, U.S. Department of Health and
Human Services, Assistant Secretary for Public Affairs, FOI/Privacy Act Division, Suite 729H, 200
Independence Avenue, SW, Washington, DC 20201. Clearly mark both the envelope and your letter
“Freedom of Information Act Appeal” or you may email your appeal to FOIARequest@hhs.gov.

In addition, you may contact our FOIA Requester Service Center at 202.619.2541 or
FOIA@oig.hhs.gov, for any further assistance or to discuss any aspect of your request. Additionally,
you may contact the Office of Government Information Services (OGIS) at the National Archives
and Records Administration to inquire about the FOIA mediation services they offer. The contact
information for OGIS is as follows: Office of Government Information Services, National Archives
and Records Administration, Room 2510, 8601 Adelphi Road, College Park, Maryland 20740-6001, e-
mail at ogis@nara.gov, telephone at 202.741.5770; toll free at 1.877.684.6448; or facsimile at
202.741.5769.

For your information, Congress excluded three discrete categories of law enforcement and national
security records from the requirements of the FOIA. See 5 U.S.C. § 552(c) (2006 & Supp. IV (2010).
This response is limited to those records that are subject to the requirements of the FOIA. This is a
standard notification that is given to all our requesters and should not be taken as an indication that
excluded records do, or do not, exist.
                                                          Sincerely,


                                                       Robin R. Brooks
                                                       Director
                                                       Freedom of Information
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                                                           HOTLINE DETAIL


 Hotline Number                   Receive Date                     Receive Time                      Complaint Date

 L133132                          07/15/2017 12:00:00AM            14:12:27                          08/02/2017 12:00:00AM


 Program Class                                                     Program Category

 PHS                                                               PHS-GRANTS/CONTRACTS


 Major Source                                                      Sub Source

 INDIVIDUAL-KNOWN-UNAFFILIATED                                     NO KNOWN AFFILIATION


 HHS Org

 NATIONAL INSTITUTES OF HEALTH

 Project                                                                                             Medic

                                                                                                     NO


 Referral Date                    Referred To                                                        Response Date




 Analyst                          Closing Date                     Closing Action

                                  10/05/2017 12:00:00AM            ADMINISTRATIVELY CLOSED - OTHER ACTION


 Follow-Up Date 1                 Follow-Up Date 2                 Agency Referred to by OPDIV




 Is complainant an HHS employee, contractor, or grantee?            NO

 Does complainant consent to providing their information to HHS?                NO




                                                            COMPLAINANTS

 Complainant                                                                                                       Confidential

 PETROU, MYRIA                                                                                                     NO


                                                              SUBJECTS

 Subject                                                                             Subject Type

    (b)(6), (b)(7)(C)                                                                EMPLOYEE-GOVERNMENT GRANTEE


                                                              COMMENTS

 Comment                                                                                                                Redacted

 PETROU STATES "I HAVE BEEN A COINVESTIGATOR ON NIH GRANT ROINS082304 AT THE UNIVERSITY OF                              NO
 MICHIGAN. ONE OF THE PRINCIPAL INVESTIGATORS HAS NOT      (b)(6), (b)(7)(C) FULFILLED THEIR
 CONTRACTUAL OBLIGATIONS WITH THE NIH AND HAS NOT PERFORMED ANALYSIS FOR 3+ YEARS DESPITE
 SALARY SUPPORT FOR NIH AND HIS ASSISTANTS FROM GRANTS."



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                                                  HOTLINE DETAIL


                                                        CASES




                                                  ECF Restriction List

 Employee                        Date Added                     Added By




                                                    SIR NUMBERS




                                                          ECF

 Sequence      Document Type        Description                            Hard Copy Location   Event Date

 1-0           HOTLINE RELATED       ORIGINAL HOTLINE TIP                                       07/15/2017 12:00:00AM
               DOCUMENT




7/14/2021 8:49:29AM                                                                                   Page 2 of 2
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                          Exhibit C
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                           Exhibit D
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                           Exhibit E
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